 Case 2:18-bk-19570-RK         Doc 128 Filed 03/29/19 Entered 03/29/19 14:52:55                  Desc
                                Main Document     Page 1 of 2



 1   THE TUROCI FIRM
     Todd Turoci (State Bar No. 160059)
 2   Julie Philippi (State Bar No. 166108)                            FILED & ENTERED
     3845 Tenth Street
 3   Riverside, CA 92501
     Telephone: (888) 332-8362                                              MAR 29 2019
 4
     Facsimile: (866) 762-0618
 5
     Email: mail@theturocifirm.com
                                                                       CLERK U.S. BANKRUPTCY COURT
                                                                       Central District of California
 6
     Attorney for Debtor and Debtor-in-Possession                      BY tatum      DEPUTY CLERK


 7
                                                               CHANGES MADE BY COURT
 8
                            UNITED STATES BANKRUPTCY COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10
                                     LOS ANEGELES DIVISION
11

12
     In re:
13                                                    Case No. 2:18-bk-19570-RK

14                                                    Chapter 11
     RICH HONEY, INC.,
15                                                    ORDER GRANTING DEBTOR’S MOTION
                       Debtor and Debtor in           TO DISMISS CASE AND DISMISSING
16                     Possession.                    CHAPTER 11 BANKRUPTCY CASE
17
                                                      Hearing:
18                                                     Date:         03/27/2019
                                                       Time:         11:00 a.m.
19
                                                       Courtroom:    1675
                                                       Place         United States Bankruptcy Court
20
                                                                     255 E. Temple Street
                                                                     Los Angeles, California 90012
21

22

23            The Motion Dismissing Chapter 11 Bankruptcy Case (the “Motion”) filed by Rich Honey, Inc.,
24   the debtor in possession (the “Debtor”), came on for hearing before Honorable Robert Kwan, United
25   States Bankruptcy Judge, on March 27, 2019, at 11:00 a.m. Appearances were made as reflected on
26   the record.
27

28

                                                      -1-
 Case 2:18-bk-19570-RK         Doc 128 Filed 03/29/19 Entered 03/29/19 14:52:55                 Desc
                                Main Document     Page 2 of 2



 1
            After consideration of the Motion, the statements of counsel at the hearing, the files and records
 2
     in this Chapter 11 bankruptcy case, and sufficient cause appearing, for the reasons stated on the record
 3
     at the hearing,
 4          IT IS HEREBY ORDERED:
 5          1. The motion is granted;
 6          2. This case is hereby dismissed;
 7

 8                                                     ###
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24
       Date: March 29, 2019
25

26

27

28

                                                       -2-
